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10                          UNITED STATES DISTRICT COURT
11                        SOUTHERN DISTRICT OF CALIFORNIA
12

13    DEBORAH HOOPER, an individual,                  Case No. 07 CV 1647 JAH
                                                      (CAB)
14                         Plaintiff,
                                                      PLAINTIFF’S OPPOSITION
15    vs.                                             TO MOTION FOR
                                                      SUMMARY JUDGMENT;
16    COUNTY OF SAN DIEGO; SAN                        DECLARATION OF
      DIEGO COUNTY SHERIFF’S                          DONALD W. COOK
17    DEPARTMENT; SHERIFF WILLIAM
      B. KOLENDER, in his official and                Date: 8/29/11
18    individual capacities; DEPUTY                   Time: 2:30 p.m.
19
      SHERIFF KIRK TERRELL, in his                    Ctrm: 11(2nd floor)
      official and individual capacities; and
20    DOES 1 through 10,

21                         Defendants.

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 1   I.        Overview.
 2             The two entity defendants, the County of San Diego (“County”) and its Sheriff’s
 3   Department (“SDSD”) (properly sued as a separate entity1) seek summary judgment on
 4   Ms. Hooper’s 42 U.S.C. § 1983 Monell claims. Defendants’ motion rests entirely on their
 5   claim of an absence of evidence of a municipal custom, policy or practice; defendants do
 6
     not argue the absence of a constitutional violation. Hence, defendants’ motion presents
 7
     the opposite of a situation like that in City of Los Angeles v. Heller, 475 U.S. 796 (1986).
 8
     There, the case against the municipal defendants failed because Plaintiff could not prove
 9
     a constitutional violation thus making the claim of municipal liability moot. 475 U.S. at
10
     799.
11
               As defendants do not claim the absence of a constitutional violation this opposition
12
     presents the evidence establishing that the dog attack on Ms. Hooper was pursuant to
13
     County and SDSD policy. The evidence consists of (a) defense admissions by their
14

15
     designated agent that the force used against Ms. Hooper was per department policy and

16   (b) defendant Terrill’s testimony to the same effect. Each suffices to hold both defendants

17   liable.

18   II.       Standards for Municipal Liability.
19             There are three different routes for establishing a public entity’s § 1983 liability:
20             1. “A local government entity is liable under § 1983 when ‘action pursuant to
21   official municipal policy of some nature cause[s] a constitutional tort.’ ” Lee v. City of
22   Los Angeles, 250 F.3d 668, 681 (9th Cir. 2001) (quoting Oviatt v. Pearce, 954 F.2d 1470,
23   1473-74 (9th Cir.1992) and citing Monell v. New York Dept. Of Soc. Servs., 436 U.S. 658
24   (1978)). Under this theory the “policy ‘need only cause (the) constitutional violation; it
25

26
          1
27     Ninth Circuit precedent holds that a California Sheriff’s Department is subject to suit
   as a separate public entity. Streit v. County of Los Angeles, 236 F.3d 552, 565-66 (9th Cir.
28 2001).

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 1   need not be unconstitutional per se.’ ” Chew v. Gates, 27 F.3d 1432, 1444 & n.12 (9th Cir.
 2   1994) (quoting Jackson v. Gates, 975 F.2d 648, 654 (9th Cir.1992)); OR
 3          2. “A local governmental entity may be liable if it has a ‘policy of inaction and
 4   such inaction amounts to a failure to protect constitutional rights.’ ” Lee, supra (quoting
 5   Oviatt, 954 F.2d at 1474). This is the City of Canton v. Harris, 489 U.S. 378, 388 (1989)
 6
     failure to train theory. 250 F.3d at 681. The Canton failure-to-train is a separate theory
 7
     from a straight up Monell claim; Canton requires a showing a deliberate indifference
 8
     whereas Monell does not. Chew, 27 F.3d at 1445 (explaining that even if the plaintiff
 9
     fails to show that the constitutional violation was “officially sanctioned” by municipal
10
     policy, plaintiff could still prevail under a Canton “deliberate indifference” failure to train
11
     theory); OR
12
            3. A policy maker ratified the unconstitutional conduct. Larez v. City of Los
13
     Angeles, 946 F.2d 630, 647 (9th Cir. 1991); accord, Watkins v. City of Oakland, 145 F.3d
14

15
     1087, 1093-94 (9th Cir. 1998).

16          In this case defendants are liable under the first theory. Under that theory the law

17   does not require that Plaintiff establish the policy or practice was deliberately indifferent

18   to Ms. Hooper’s rights. That “deliberate indifference” formulation is for the second
19   theory of entity liability, that is, a City of Canton entity inaction or entity failure to train.
20   Thus, in Chew, the Ninth Circuit held that a municipal policy causing a police dog attack
21   subjected the city to Monell liability, with the court going on to distinguish that basis of
22   entity liability from one relying on a Canton failure to train. 27 F.3d at 1445. It is also
23   worth noting that to prevail on the first theory, the plaintiff is not required to show that
24   “official policy-makers had actual knowledge of the practice at issue” if other evidence
25
     establishes that the challenged action was pursuant to municipal policy, custom or
26
     practice. Hunter v. County of Sacramento, ___ F.3d ___ (9th Cir. 2011) (filed 7/26/11),
27
     Slip Opinion at 9596 n.9.
28

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 1   III.   Defendants Admit That The Dog Attack On Ms. Hooper Was Pursuant to
 2          Defendants’ Custom, Policy and/or Practice.
 3          Pursuant to F.R.Cv.P. 30(b)(6), the County and SDSD produced Deputy Edwin
 4   Brock to testify on the following subject:
 5          24. Whether the use of the dog against plaintiff in the incident that gives rise
 6
            to this lawsuit was in accordance with and pursuant to the custom, policy
 7
            and/or practice of the San Diego County Sheriff’s Department.
 8
     See Exhibit A, copy of deposition notice (¶24); Brock depo., 34:15-23 (Exhibit B).
 9
            Brock testified:
10
            Q: You're saying now that you are able -- the last part of your answer is that
11
            you are able to say that the force that he used against Miss Hooper was in
12
            accordance with San Diego Sheriff's Department policy and training, at least
13
            as it exists as of now; is that true?
14

15
            A: That's my opinion.

16          Q: You're also here to testify as a designated agent for the sheriff's

17          department, Paragraph 24; isn't that correct?

18                Your counsel indicated earlier -- perhaps you need to look at
19          Paragraph 24 and maybe confer with her.
20          A: I did read 24. She said either myself -- I may be able to answer, but it
21          was more appropriate for Corporal Cross.
22          Q: Are you able to testify as to Paragraph 24?
23          A: Yes.
24   Brock depo., 53:4-20 (Exhibit B).
25
            Hence, via the testimony of their F.R.Cv.P. 30(b)(6) agent Brock, defendants admit
26
     that the force Terrill used against Ms. Hooper was in accordance with defendants’ policy
27
     and/or practice.
28

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 1         Brock’s testimony binds defendants as an admission; Brock’s testimony may not
 2   now be disavowed. F.R.E. 801(d)(2)(C) (admission by party-opponent); F.R.Cv.Proc.
 3   30(b)(6) (corporate party’s designee who testifies at deposition binds the corporate party);
 4   Radobenko v. Automated Equipment Corp., 520 F.2d 540, 544 (9th Cir. 1975) (party may
 5   not create factual conflict by contradicting his earlier deposition testimony).
 6
           Defendants are in the same position as defendant City of Los Angeles in Chew v.
 7
     Gates, 27 F.3d 1432 (9th Cir. 1994). There, “[i]n the district court, the city conceded, for
 8
     purposes of summary judgment, the truth of [plaintiff’s] contention that departmental
 9
     policy authorized” the police dog attack. The Ninth Circuit held that the city was “bound
10
     by the concession it made in the district court” and thus liable under § 1983. 27 F.3d at
11
     1444-45 (Majority Opinion), 1456-57 (Norris, J., concurring).
12
           Aside from the binding nature of Brock’s admission, his testimony was echoed by
13
     the dog handler, defendant Terrill. Terrill testified that in ordering the dog to attack he
14

15
     was following department policy and his training, and that he was never told anything

16   different by any of his superiors:

17         Q: And did you tell Dan Settle what had occurred?

18         A: Yes.
19         Q: What was his rank?
20         A: He's a deputy.
21         Q: Does he have supervisory responsibilities? I mean, K-9 coordinator
22         sounds like someone who might just be coordinating activities. That's why
23         I ask.
24         A: Yeah, he has some supervisory responsibilities.
25
           Q: He has supervisory responsibilities over you; is that true?
26
           A: Yes.
27
           Q: What are those supervisory responsibilities over you?
28

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 1         A: He was responsible for training.
 2         Q: Did he indicate -- well, withdrawn.
 3               You basically told him in so many words what your dog had done,
 4         right, how your dog came to bite Ms. Hooper; is that right?
 5         A: I wrote a report for him.
 6
           Q: Well, had you written a report at the time that you met with him at the
 7
           hospital?
 8
           A: Yeah. It was -- it was a contact report, I believe, that I gave to him.
 9
           Q: Did he indicate to you in any manner that the dog's behavior was not in
10
           accordance with the dog's training?
11
           A: No, not at all.
12
           Q: His reaction to you is that, well, yeah, the dog pretty much performed the
13
           way that he would have expected the dog to have performed; is that true?
14

15
           A: Well, he's pretty even-keeled. I mean...

16         Q: Okay. I mean, he gave you no indication that the dog had acted outside

17         of its training. Would you agree with that statement, Deputy?

18         A: I would agree with that statement.
19   Terrill depo., 184:13-185:23 (Exhibit C).
20                                        *    *         *   *
21         Q: Your use of force in this incident, including the use of the dog when it bit
22         Ms. Hooper, was in accordance with your training; is that true?
23         A: Yes.
24         Q: And your use of force, including the dog biting Ms. Hooper, was in
25
           accordance with sheriff's department policy and procedure as you
26
           understand it; is that correct, Deputy?
27
           A: Yes.
28

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  1         Q: Is it also true that you heard nothing, seen nothing from anybody within
  2         the department in the almost three years since this incident happened
  3         suggesting that your use of force in this incident, including the use of the
  4         dog, was contrary to sheriff's department policy?
  5         You've heard or seen nothing from the department to that effect; would you agree?
  6
            A: I've heard or seen nothing about this incident, no.
  7
      Terrill depo., 212:13-213:5 (Exhibit C).
  8
            Terrill’s testimony alone suffices to hold defendants liable. In Lalonde v. County
  9
      of Riverside, 204 F.3d 947, 961-62 (9th Cir. 2000), the trial court excluded testimony by
 10
      the defendant deputy that his actions were “in accordance with policy,” and then
 11
      dismissed the claim against the county for a failure of proof. The Ninth Circuit reversed,
 12
      holding that the officer’s testimony was sufficient for imposing Monell liability. See also
 13
      Clipper v. Takoma Park Maryland, 876 F.2d 17, 20 (4th Cir. 1989) (Monell liability
 14

 15
      evidence sufficient because arresting officer in response to the question, “Whatever you

 16   did at that particular time, you felt you were doing pursuant to instructions given you by

 17   the Takoma Park Police Department?’ stated “I felt I was doing what I thought was right

 18   and what I learned in school.”); Garner v. Memphis Police Dept., 8 F.3d 358, 363-64 (6th
 19   Cir. 1993) (since city authorized use of unreasonable force, city is liable).
 20         Again, there is no requirement that Plaintiff show that defendants’ policy that
 21   caused her injury is unconstitutional. Chew, 27 F.3d at 1442 (“City policy ‘need only
 22   cause (the) constitutional violation; it need not be unconstitutional per se.’ ” (quoting
 23   Jackson v. Gates, 975 F.2d 648, 654 (9th Cir.1992)).
 24   IV.   Conclusion.
 25
            Defendants offer nothing showing that the dog attack on Ms. Hooper was not in
 26
      accordance with their policy or practice. Meanwhile, defendants (through their designated
 27
      agent and employees) admit that the dog attack and Terrill’s use of force was pursuant
 28

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  1   to defendants’ policies. Defendants’ motion must therefore be denied.
  2   DATED: August 15, 2011
  3                                   ROBERT MANN
                                     DONALD W. COOK
  4                                  Attorneys for Plaintiff
  5

  6
                           By_________________________________
  7                                   Donald W. Cook

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  1                        DECLARATION OF DONALD W. COOK
  2         I, DONALD W. COOK, declare:
  3         1. I am one of the attorneys representing plaintiff.
  4         2. I represented Deborah Hooper at the March 19, 2009 deposition of defendants’
  5   designated Rule 30(b)(6) agent Edwin Brock. Deputy Brock testified in response to a
  6
      Rule 30(b)(6) notice I served. Attached hereto as Exhibit A is a true copy of the
  7
      deposition notice, and attached hereto as Exhibit B are true copies of relevant pages from
  8
      Deputy Brock’s deposition transcript.
  9
            3. On behalf of plaintiff, I took defendant Kirk Terrill deposition on March 5, 2009.
 10
      True and correct copies of the cited portions of his deposition testimony are attached
 11
      hereto as Exhibit C.
 12
            I declare under penalty of perjury that the foregoing is true and correct. Executed
 13
      August 15, 2011, at Los Angeles, California.
 14

 15

 16                             ____________________________
                                       Donald W. Cook
 17

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  5                                      email: ellenellison1116@yahoo.com

  6   Attorneys for Plaintiff

  7

  8
                                  UNITED STATES D ISTRICT COURT
  9
                                SOUTHERN D ISTRICT OF CALIFORNIA
 10

 11
       DEBORAH HOOPER, an individual,                                Case No. CV 07-1647 JAH
 12                                                                  (CAB)
                                Plaintiff,
 13                                                                  PLAINTIFF’S NOTICE OF
       vs.                                                           DEPOSITIONS
 14
       COUNTY OF SAN DIEGO; SAN DIEGO                                Date: 1/30/09 (Terrell)
 15    COUNTY SHERIFF’S DEPARTMENT;                                  Date: 2/2/09 (PMK)
       SHERIFF WILLIAM B. KOLENDER, in                               Date: 2/3/09 (Kolender)
 16    his official and individual capacities;
 17
       DEPUTY SHERIFF KIRK TERRELL, in
       his official and individual capacities; and
 18    DOES 1 through 10,

 19                             Defendants.

 20

 21           TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
 22           PLEASE TAKE NOTICE that on Friday, January 30, 2009, at 11:00 a.m., plaintiff
 23   will take the deposition of defendant Kirk Terrell.
 24           PLEASE TAKE FURTHER NOTICE that on Monday, February 2, 2009, at 11:00
 25   a.m., pursuantto F.R.Cv.Proc. 30(b)(6) plaintiff will take the deposition of the designated
 26
      agent(s) for the County of San Diego and San Diego County Sheriff’s Department on the
 27
      following matters:
 28
      Depo notice                                                                       EXHIBIT A
                                                       -9-
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  1        1. From 1995 to present, the method of record keeping by San Diego County
  2        Sheriff’s Department of bites of suspects by San Diego County Sheriff’s
  3        Department canines;
  4        2. From 1995 to present, the method of record keeping by San Diego County
  5        Sheriff’s Department of bites of non-suspects by San Diego County Sheriff’s
  6
           Department canines;
  7
           3. From 1995 to present, the types of records maintained and/or created by San
  8
           Diego County Sheriff’s Department in which instances of bites of suspects by San
  9
           Diego County Sheriff’s Department canines are recorded;
 10
           4. From 1995 to present, the types of records maintained and/or created by San
 11
           Diego County Sheriff’s Department in which instances of bites of non-suspects by
 12
           San Diego County Sheriff’s Department canines are recorded;
 13
           5. From 1995 to present, the types of records maintained and/or created by San
 14

 15
           Diego County Sheriff’s Department for recording apprehensions of suspects

 16        through the assistance of San Diego County Sheriff’s Department canines;

 17        6. From 1995 to present, the types of records maintained and/or created by San
 18        Diego County Sheriff’s Department for purposes of calculating the bite rates of
 19        individual San Diego County Sheriff’s Department canine units;
 20        7. From 1995 to present, the types of records maintained and/or created by San
 21        Diego County Sheriff’s Department for purposes of calculating the bite rate of San
 22        Diego County Sheriff’s Department's Canine Unit;
 23        8. From 1995 to present, the types of records maintained and/or created by San
 24        Diego County Sheriff’s Department canine handlers for purposes of recording their
 25        activities as San Diego County Sheriff’s Department canine handlers;
 26
           9. From 1995 to present, the types of records maintained and/or created by San
 27
           Diego County Sheriff’s Department Canine Handlers for purposes of recording
 28
      Depo notice                                                            EXHIBIT A
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  1        their activities in apprehending suspects;
  2        10. From 1995 to present, the types of records maintained and/or created by San
  3        Diego County Sheriff’s Department Canine Handlers for purposes of recording
  4        their activities in training or conditioning their Police Department canines;
  5        11. From 1995 to present, the types of records maintained and/or created by San
  6        Diego County Sheriff’s Department Canine Handlers for purposes of recording
  7        instances where their canines bite suspects;
  8
           12. From 1995 to present, the types of records maintained and/or created by San
  9
           Diego County Sheriff’s Department Canine Handlers for purposes of recording
 10
           instances where their canines bite non-suspects;
 11
           13. From 1995 to present, the types of records maintained and/or created by San
 12
           Diego County Sheriff’s Department, or San Diego County Sheriff’s Department
 13
           canine handlers for the purpose of recording the degree or severity of injuries
 14
           inflicted by San Diego County Sheriff’s Department canines;
 15
           14. From 1995 to present, the types of records maintained and/or created by San
 16
           Diego County Sheriff’s Department, or San Diego County Sheriff’s Department
 17

 18        canine handlers for the purpose of recording the extent of medical treatment

 19        rendered to persons bitten by San Diego County Sheriff’s Department canines;

 20        15. From 1995 to present, the types of records maintained and/or created by San
 21        Diego County Sheriff’s Department for evaluating, monitoring and/or critiquing
 22        San Diego County Sheriff’s Department canine handlers and/or San Diego County
 23        Sheriff’s Department canine unit;
 24        16. The collection, storage, retrieval, and archival of information collected for
 25        purposes of complying with Cal. Penal Code § 13100 et set. This includes but is
 26        not limited to information as it is stored on any and computer database(s);
 27        17. The training, if any, provided to San Diego County officers on the
 28
      Depo notice                                                             EXHIBIT A
                                               -11-
                                                 -3-                                   00039575.WPD
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  1        circumstances, under accepted police practices and standards for the use of force,
  2        when a San Diego County officer may use force against a person where that force
  3        creates a substantial risk of serious injury;
  4        18. Whether or not the San Diego County Sheriff’s Department policy for the use
  5        of force by police officers incorporates POST training standards for the use of
  6        force;
  7        19. Whether or not San Diego County officers are trained to used physical force
  8
           in compliance with POST training standards;
  9
           20. Whether or not the San Diego County Sheriff’s Department has adopted POST
 10
           minimum training standards into the Department's training standards for the use of
 11
           force by police officers;
 12
           21. The frequency of physical injury to suspects caused by San Diego County
 13
           officers in using one or more baton strikes;
 14
           22. The frequency of hospitalization of suspects (meaning in-patient care for at
 15
           least one day) as a result of physical injury to suspects caused by San Diego
 16
           County officers in using one or more baton strikes; and
 17

 18        23. The frequency with which San Diego County officers resort to physical force

 19        (other than the use of dogs to bite) in arresting suspects.

 20        24. Whether the use of the dog against plaintiff in the incident that gives rise to this
 21        lawsuit was in accordance with and pursuant to the custom, policy and/or practice
 22        of the San Diego County Sheriff’s Department.
 23        25. The use and capabilities of any and all computer systems by the County of San
 24        Diego and/or San Diego County Sheriff’s Department that identifies persons
 25        arrested by the San Diego County Sheriff’s Department, arrest charges, victims of
 26        crimes, and/or crimes reported to the San Diego County Sheriff’s Department. This
 27        includes, but is not limited to, the use of IBIS (“Inmate Booking Information
 28
      Depo notice                                                                 EXHIBIT A
                                               -12-
                                                 -4-                                       00039575.WPD
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  1         System”).
  2         PLEASE TAKE FURTHER NOTICE that on Tuesday, February 3, 2009, at 11:00
  3   a.m., plaintiff will take the deposition of defendant William B. Kolender.
  4         The place for all depositions shall be the Law Offices of Robert Mann & Donald
  5   W. Cook, located at 3435 Wilshire Boulevard, Suite 2900, Los Angeles, California.
  6         Plaintiff gives notice of intent to record the depositions by means of audio/video
  7   recording, as well as stenographic recordation.
  8
      DATED: January 14, 2009
  9
                                       ROBERT MANN
 10                                   DONALD W. COOK
                                      Attorneys for Plaintiff
 11

 12
                           By_________________________________
 13                                   Donald W. Cook
 14

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 28
      Depo notice                                                              EXHIBIT A
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                                                -5-                                    00039575.WPD
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 Brock depo.                                                     EXHIBIT B
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      6             Los Angeles, California     90010

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     14             San Diego, California     92101-2469

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     16             stephanie.kish@sdcounty.ca.gov

     17

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 Brock depo.                                                     EXHIBIT B
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      1                           I N D E X

      2   Examination by:                                   Page

      3   Mr. Cook.....................................       4

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     10                            EXHIBITS

     11   Identification        Description                 Page

     12   A - Plaintiff's Notice of Depositions               33

     13   B - Basic Course Unit Guide                         35

     14   C - Los Angeles County Sheriff's Department         43

     15       Suspect Action / Deputy Action

     16

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     22                     IDENTIFIED FOR COUNSEL

     23                         PAGE     LINE

     24                            (None.)

     25

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 Brock depo.                                                       EXHIBIT B
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      1                      San Diego, California

      2             Thursday, March 19, 2009 - 10:28 a.m.

      3

      4                            EDWIN BROCK,

      5                  having been first duly sworn,

      6             was examined and testified as follows:

      7

      8                          -EXAMINATION-

      9   BY MR. COOK:

     10        Q    State your name, please.

     11        A    Edwin Brock.

     12        Q    By whom are you employed?

     13        A    San Diego County Sheriff's Department.

     14        Q    How long have you been so employed?

     15        A    16 1/2 years.

     16        Q    And your current rank?

     17        A    I'm a sergeant.

     18        Q    Your current assignment?

     19        A    K-9 sergeant.

     20        Q    Have you ever had your deposition taken

     21   before?

     22        A    Yes.

     23        Q    If you do not understand a question, say so.

     24   If you need to take a break, say so.

     25             Are you a dog handler?

                                                                     4




 Brock depo.                                                       EXHIBIT B
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      1        Q    Can you identify the issues here?        Just read

      2   off the numbers of the paragraphs.

      3        A    You want me to read this whole thing?

      4        Q    Well, no.     Just tell me -- if you need the

      5   assistance of your counsel, that's fine -- you know,

      6   what paragraphs by number.      I'm here to testify about

      7   Paragraph 1, for example, or Paragraph 7.       Whatever.

      8        A    It looks like Numbers 1 through 15.

      9        Q    Okay.   What about Paragraph 17?

     10             MS. KISH:     No, that will be Corporal Cross.

     11   And I have dates to discuss with you later.

     12             MR. COOK:     Okay.   All right.

     13             MS. KISH:     It is Corporal Cross?

     14             THE WITNESS:     That's right.

     15             MR. COOK:     All right.     So Sergeant Brock is

     16   here just for Paragraphs 1 through 15; is that right?

     17             MS. KISH:     Correct.     Let me take another...

     18             MR. COOK:     Yeah, maybe you want to take a look

     19   at the other just for...

     20             MS. KISH:     Sergeant Brock or Corporal Cross

     21   can address 24.   I believe Corporal Cross is probably

     22   the better candidate.    But...

     23             MR. COOK:     All right.

     24   BY MR. COOK:

     25        Q    So, gosh, do you have a POST certificate?

                                                                          34




 Brock depo.                                                             EXHIBIT B
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      1   against Miss Hooper appears to be appropriate based on

      2   the resistance she was offering.

      3   BY MR. COOK:

      4           Q   You're saying now that you are able -- the

      5   last part of your answer is that you are able to say

      6   that the force that he used against Miss Hooper was in

      7   accordance with San Diego Sheriff's Department policy

      8   and training, at least as it exists as of now; is that

      9   true?

     10           A   That's my opinion.

     11           Q   You're also here to testify as a designated

     12   agent for the sheriff's department, Paragraph 24; isn't

     13   that correct?

     14               Your counsel indicated earlier -- perhaps you

     15   need to look at Paragraph 24 and maybe confer with her.

     16           A   I did read 24.    She said either myself -- I

     17   may be able to answer, but it was more appropriate for

     18   Corporal Cross.

     19           Q   Are you able to testify as to Paragraph 24?

     20           A   Yes.

     21           Q   All right.    Was Deputy Terrell justified in

     22   using deadly force against Miss Hooper?

     23           A   Deputy Terrell --

     24               MS. KISH:    Objection.    Lacks foundation.

     25   Assumes facts not in evidence.        Calls for speculation.

                                                                          53




 Brock depo.                                                             EXHIBIT B
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 Brock depo.                                                     EXHIBIT B
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 Terrill depo.                                                   EXHIBIT C
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      7

      8   For the Defendant:

      8

      9             County of San Diego

     10             Office of County Counsel

     11             Stephanie E. Kish, Esq.

     12             Senior Deputy County Counsel

     13             1600 Pacific Highway, Room 355

     14             San Diego, California     92101-2469

     15             (619) 531-6230 p        (619) 531-6005 f

     16             stephanie.kish@sdcounty.ca.gov

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 Terrill depo.                                                   EXHIBIT C
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      1                          I N D E X

      2   Examination by:                                   Page

      3   Mr. Cook.....................................       4

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     10                           EXHIBITS

     11   Identification        Description                 Page

     12   A - Basic Course Unit Guide                        159

     13   B - Illustration                                   161

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 Terrill depo.                                                     EXHIBIT C
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      1                       San Diego, California

      2              Thursday, March 5, 2009 - 1:38 p.m.

      3                            KIRK TERRELL,

      4                  having been first duly sworn,

      5              was examined and testified as follows:

      6                            -EXAMINATION-

      7   BY MR. COOK:

      8          Q   State your name for the transcript, please.

      9          A   Kirk Terrell, T-e-r-r-e-l-l.

     10          Q   My name is Donald Cook.       I represent the

     11   plaintiff in this action.

     12              Have you been deposed before?

     13          A   No, I have not.

     14          Q   If you do not understand a question, say so.

     15   If you need to take a break, say so.        If you don't know

     16   the answer to a question, then the correct answer is "I

     17   don't know."   All right?

     18          A   Yes, sir.

     19          Q   Did you review anything in preparation for the

     20   deposition today?

     21          A   Yes, I did.

     22          Q   What did you review?

     23          A   My arrest report.

     24          Q   That would be your arrest report regarding the

     25   arrest of the plaintiff Deborah Hooper?

                                                                            4




 Terrill depo.                                                            EXHIBIT C
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      1   coordinator at the hospital.

      2          Q   And what's the purpose of meeting with the K-9

      3   coordinator?

      4          A   I have to fill out some contact reports.

      5          Q   Did you fill out a contact report?

      6          A   Yes.

      7          Q   Other than filling out the contact report, is

      8   there any other reason for meeting with the K-9

      9   coordinator?

     10          A   No.

     11          Q   Who was the K-9 coordinator you met with?

     12          A   Dan Settle.

     13          Q   And did you tell Dan Settle what had occurred?

     14          A   Yes.

     15          Q   What was his rank?

     16          A   He's a deputy.

     17          Q   Does he have supervisory responsibilities?    I

     18   mean, K-9 coordinator sounds like someone who might just

     19   be coordinating activities.     That's why I ask.

     20          A   Yeah, he has some supervisory

     21   responsibilities.

     22          Q   He has supervisory responsibilities over you;

     23   is that true?

     24          A   Yes.

     25          Q   What are those supervisory responsibilities

                                                                        184




 Terrill depo.                                                         EXHIBIT C
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      1   over you?

      2          A    He was responsible for training.

      3          Q    Did he indicate -- well, withdrawn.

      4               You basically told him in so many words what

      5   your dog had done, right, how your dog came to bite

      6   Ms. Hooper; is that right?

      7          A    I wrote a report for him.

      8          Q    Well, had you written a report at the time

      9   that you met with him at the hospital?

     10          A    Yeah.   It was -- it was a contact report, I

     11   believe, that I gave to him.

     12          Q    Did he indicate to you in any manner that the

     13   dog's behavior was not in accordance with the dog's

     14   training?

     15          A    No, not at all.

     16          Q    His reaction to you is that, well, yeah, the

     17   dog pretty much performed the way that he would have

     18   expected the dog to have performed; is that true?

     19          A    Well, he's pretty even-keeled.     I mean...

     20          Q    Okay.   I mean, he gave you no indication that

     21   the dog had acted outside of its training.       Would you

     22   agree with that statement, Deputy?

     23          A    I would agree with that statement.

     24          Q    Now, was this a use of force, the dog biting

     25   Ms. Hooper?

                                                                        185




 Terrill depo.                                                         EXHIBIT C
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      1          A    What do you mean?

      2          Q    Well, I asked you if you recognized it.      You

      3   said yes, you knew it was a basket muzzle, but you don't

      4   carry it around in your patrol car.

      5          A    No.     I have a different type of muzzle.

      6          Q    What type of muzzle do you have?

      7          A    I don't know, but it's not a basket.

      8          Q    Can you describe the muzzle that you have?

      9          A    Yeah.    It's more leather.

     10          Q    Do you ever use a hard plastic muzzle with

     11   your dog?

     12          A    No, not hard plastic.

     13          Q    Your use of force in this incident, including

     14   the use of the dog when it bit Ms. Hooper, was in

     15   accordance with your training; is that true?

     16          A    Yes.

     17          Q    And your use of force, including the dog

     18   biting Ms. Hooper, was in accordance with sheriff's

     19   department policy and procedure as you understand it; is

     20   that correct, Deputy?

     21          A    Yes.

     22          Q    Is it also true that you heard nothing, seen

     23   nothing from anybody within the department in the almost

     24   three years since this incident happened suggesting that

     25   your use of force in this incident, including the use of

                                                                          212




 Terrill depo.                                                           EXHIBIT C
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      1   the dog, was contrary to sheriff's department policy?

      2               You've heard or seen nothing from the

      3   department to that effect; would you agree?

      4           A   I've heard or seen nothing about this

      5   incident, no.

      6           Q   How is the dog able to, if you know,

      7   distinguish you from someone else, you know, like with

      8   Ms. Hooper where you're having physical contact with

      9   literally grappling as the dog goes up to bite, in this

     10   case, Ms. Hooper?

     11               How is the dog able to distinguish, if you

     12   know?

     13           A   I don't know.

     14           Q   Is there any training you take the dog through

     15   to enable it to distinguish you from the attacker; that

     16   is, where the attacker is having, you know, close

     17   physical contact with you?

     18           A   What do you mean?

     19           Q   Well, in this incident you are lying on top of

     20   Ms. Hooper.

     21           A   Uh-huh.

     22           Q   Your back is on her chest.

     23           A   No, it's not.   My chest is on her back.

     24           Q   I'm sorry.   Your chest is on her back.

     25               What I'm saying is you have about as close

                                                                        213




 Terrill depo.                                                         EXHIBIT C
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 Terrill depo.                                                   EXHIBIT C
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